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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                            BROWNSVILLE DIVISION

SPACE EXPLORATION
TECHNOLOGIES CORP.,
      Plaintiff,                                 Civil Action No. 1:24-cv-00001
             v.
NATIONAL LABOR RELATIONS
BOARD, a federal administrative agency,
JENNIFER ABRUZZO, in her official
capacity as the General Counsel of the
National Labor Relations Board, LAUREN
M. McFERRAN, in her official capacity as
the Chairman of the National Labor
Relations Board, MARVIN E. KAPLAN,
GWYNNE A. WILCOX, and DAVID M.
PROUTY, in their official capacities as
Board Members of the National Labor
Relations Board, and JOHN DOE in his
official capacity as an Administrative Law
Judge of the National Labor Relations
Board,
      Defendants.




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   [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR PRELIMINARY
                           INJUNCTION

       Upon consideration of Plaintiff Space Exploration Technologies Corp.’s Motion for a

Preliminary Injunction, based on the arguments contained therein, the evidence submitted, and any

argument in open court, it is hereby ordered that the motion is GRANTED. The Court finds that

SpaceX has shown a likelihood of success on the merits of one or more of its claims, a likelihood

of irreparable harm in the absence of preliminary relief, and that the balance of the equities and

public interest favor of the injunction. All administrative proceedings in National Labor Relations

Board Cases 31-CA-307446, 31-CA-307532, 31-CA-307539, 31-CA-307546, 31-CA-307551, 31-

CA-307555, 31-CA-307514, and 31-CA-307525, including without limitation any hearing before

an Administrative Law Judge, are hereby stayed and enjoined in all respects pending further order

of this Court.

       SO ORDERED on February ___, 2024

                                                     ___________________
                                                     Rolando Olvera
                                                     United States District Judge
